                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             EASTERN DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                                  No. CR 05-2005
 vs.                                    ORDER REGARDING
                                   MAGISTRATE’S REPORT AND
 JODIE ELAINE McATEE,                   RECOMMENDATION
                                    CONCERNING DEFENDANT’S
           Defendant.                      GUILTY PLEAS
                      ____________________


                     I. INTRODUCTION AND BACKGROUND
       On June 8, 2005, a four-count Second Superseding Indictment was returned against
the defendant Jodie Elaine McAtee. On June 14, 2005, the defendant appeared before
United States Magistrate Judge John A. Jarvey and entered pleas of guilty to Counts 2 of
the Second Superseding Indictment and to the Information. On June 14, 2005, Judge
Jarvey filed a Report and Recommendation in which he recommended that defendant’s
guilty pleas be accepted. On June 14, 2005, Defendant filed a Waiver of Objections to
Report and Recommendation. The court, therefore, undertakes the necessary review of
Judge Jarvey's recommendation to accept defendant’s pleas in this case.


                                     II. ANALYSIS
       Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the

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             findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
             The district judge to whom the case is assigned shall make a de
             novo determination upon the record, or after additional
             evidence, of any portion of the magistrate judge’s disposition
             to which specific written objection has been made in
             accordance with this rule. The district judge may accept,
             reject, or modify the recommended decision, receive further
             evidence, or recommit the matter to the magistrate judge with
             instructions.
FED. R. CIV. P. 72(b).
      In this case, no objections have been filed, and it appears to the court upon review
of Judge Jarvey's findings and conclusions, that there is no ground to reject or modify
them. Therefore, the court accepts Judge Jarvey's Report and Recommendation of June
14, 2005, and accepts defendant’s pleas of guilty in this case to Counts 2 of the Second
Superseding Indictment and the Information.
      IT IS SO ORDERED.
      DATED this 15th day of June, 2005.




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